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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
  HDM/GN/PC/MC                                         271 Cadman Plaza East
  F.# 2016R00695                                       Brooklyn, New York 11201

                                                       July 21, 2024


  By ECF and Email

  The Honorable Nicholas G. Garaufis
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                         Re:    United States v. Manuel Chang
                                Criminal Docket No. 18-681 (NGG)

  Dear Judge Garaufis:
                  The government writes to respectfully request that the Court provide a curative
  instruction to the jury in response to misleading and improper argument made by defense counsel
  during their opening statement. This week, the government intends to call, among other witnesses,
  a wire transfer expert and financial institution witnesses to testify about how and whether wire
  transfers were processed through New York City in furtherance of the charged conspiracies.
                During their opening statement, defense counsel improperly argued:
         [The government is] also going to call another category of witnesses. These are the
         experts, the agents, and the individuals at banks who know about wire transfers.
         They’re going to call six witnesses, six witnesses, to tell you about how money
         moves around the world.

         It seems very complicated. There’s chips, there’s Fedwire, and stuff moves sort of
         through the air and under water. And it’s going to seem very technical and
         fascinating, interesting. But you will be free to ask yourselves why there are six
         witnesses come in here talking to me about wires? There’s no dispute over what
         wires were sent. We know that.

         And I would submit to you that you could consider that because the Government
         doesn’t have the actual hard evidence of the agreement, Mr. Chang, contrary to their
         story, they’re going to will bring all these other witnesses to sort of talk around the
         issues, fill up the time, hoping maybe you’ll get distracted, hoping maybe these
         witnesses will do the trick even though they’re not giving you the evidence that you
         need.
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  Trial Transcript (“Tr.”) at 59-60 (Mr. Ford).
                 Mr. Ford essentially argued that the only reason the government will be calling
  multiple witnesses on the subject of “how money moves around the world” is to “distract[]” the
  jury. (Id.) This argument (like any argument) should not have been made during opening
  statements and is prejudicial and misleading. The government intends to call these witnesses
  because it bears the burden of proof and expects that their testimony will prove, among other things:
  (1) venue; (2) the use of U.S. wires; and (3) and the transfer of money to, from, or through the
  United States. Moreover, the defendant has repeatedly refused to stipulate to the facts that he
  inaccurately represented to the jury were not in dispute, including basic facts about how wire
  communications travel to and from Manhattan and where CHIPS processed wire transfers during
  relevant time periods. See id. (“There’s no dispute over what wires were sent.”) If the defendant
  truly did not dispute these issues, as he told the jury, the government would not need to call
  Joel DeCapua and Robert Pepitone. In sum, the defendant’s argument during his opening statement
  that the government is only calling such witnesses to distract the jury is improper, prejudicial, and
  misleading.
                   The government therefore requests that the Court issue the following jury instruction
  before it calls its first expert, Sean O’Malley:
         The government intends to call multiple experts and other witnesses from financial
         institutions in New York City to testify about, among other things, the processing
         of U.S. dollar wire transfers. During opening statements, counsel for the defendant
         stated that the government was calling these witnesses for a reason other than to
         prove its case. That was incorrect. The government bears the burden of proof, and
         it is calling these witnesses to present evidence for your consideration. Please
         remember that the government is not on trial, and I instruct you to disregard any
         arguments that may have been made to the contrary. There is no evidence that the
         government is operating under any kind of improper motive. You must base your
         decision only on the evidence or lack of evidence that has been presented at trial in
         determining whether the government has met its burden of proving defendant’s
         guilt beyond a reasonable doubt.
  Adapted from the charge of the Honorable Brian M. Cogan, United States v. Guzman Loera, 09-
  CR-466, selected excerpt attached as Exhibit A.




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                                              Respectfully submitted,

                                              BREON PEACE
                                              United States Attorney

                                        By:      /s/
                                              Hiral Mehta
                                              Genny Ngai
                                              Assistant U.S. Attorneys
                                              (718) 254-7000

                                              GLENN S. LEON
                                              Chief, Fraud Section
                                              Criminal Division
                                              U.S. Dept. of Justice

                                        By:    /s/
                                              Peter L. Cooch
                                              Trial Attorney
                                              (202) 924-6259

                                              MARGARET A. MOESER
                                              Chief, Money Laundering & Asset
                                              Recovery Section
                                              Criminal Division
                                              U.S. Department of Justice


                                        By:    /s/
                                              Morgan J. Cohen
                                              Trial Attorney
                                              (202) 616-0116

  cc:   Clerk of Court (NGG) (by ECF)
        Defense counsel (by ECF)




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